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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                               No.    4:17-CR-187-Y

DAVID ALLEN DEVANEY, JR. (01)

                         GOVERNMENT'S NOTICE REGARDING
                          ACCEPTANCE OF RESPONSIBILITY

        The government files this motion regarding Acceptance of Responsibility

pursuant to USSG § 3E1.1(b):

        If the Court determines that the defendant is entitled to a reduction for

Acceptance of Responsibility and that his offense level is 16 or greater, the

government moves that the defendant receive an additional third point reduction for

Acceptance of Responsibility pursuant to USSG § 3E1.1(b). The defendant assisted

authorities in the investigation or prosecution of his own misconduct by timely

notifying authorities of his intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the court

to allocate their resources efficiently.




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                                         Respectfully Submitted,

                                         ERIN NEALY COX
                                         UNITED STATES ATTORNEY

                                         s/ Christopher R. Wolfe
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2018, I electronically filed the foregoing
document with the clerk for the U.S. District Court, Northern District of Texas,
using the electronic case filing system of the court. The electronic case filing system
sent a ANotice of Electronic Filing@ to the following attorney of record who has
consented in writing to accept this Notice as service of this document by electronic
means: Brian Poe.

                                         s/ Christopher R. Wolfe
                                         CHRISTOPHER R. WOLFE
                                         Assistant United States Attorney




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